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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                           CASE NO. 1:02-cr-00045-MP -AK

CRAIG CHARLES BOLLES,

       Defendant.

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                                           ORDER

       This matter is before the Court on Doc. 188, Objection to Report and Recommendation

filed by Craig Charles Bolles. Defendant has filed objections to the Magistrate Judge's report

and recommendation, which the Court adopted on September 20, 2007. Pursuant to the report

and recommendation, the Court granted Defendant's motion to vacate and reimposed the same

sentence to allow Defendant the opportunity to file an appeal. The Court did not address the

other grounds raised since the result was dispositive of the motion. Defendant never filed an

appeal and now asks the Court to conduct a de novo review of the other grounds of Defendant's

motion to vacate. Since Defendant’s motion to vacate was granted, addressing any other

grounds for vacatur would be only surplusage. Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       1.      Defendant’s request for de novo review of his Motion to Vacate is DENIED.


       DONE AND ORDERED this            17th day of May, 2011


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
